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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

   SECURITIES AND EXCHANGE
   COMMISSION,

                         Plaintiff,

                    v.                                      21-cv-00583-MKB-VMS

   GPB CAPITAL HOLDINGS, LLC;                               CORPORATE DISCLOSURE
   ASCENDANT CAPITAL, LLC;                                  STATEMENT OF GPB CAPITAL
   ASCENDANT ALTERNATIVE                                    HOLDINGS, LLC
   STRATEGIES, LLC;
   DAVID GENTILE;
   JEFFRY SCHNEIDER; and
   JEFFREY LASH,

                         Defendants.



         Pursuant to Federal Rule of Civil Procedure 7.1 and Local Civil Rule 7.1.1, Defendant

  GPB Capital Holdings, LLC (“GPB Capital”) discloses as follows:

     1. GPB Capital is not a publicly traded corporation.

     2. No parent corporation or publicly-held corporation owns 10% or more of the stock of GPB

         Capital.

  Dated: July 23, 2024
  New York, New York
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